IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Criminal Case No. 16-Cf0_- COUS A - OW
UNITED STATES OF AMERICA,

Plaintiff,

1. SHIRLEY ANN DEER,

Defendant.

INFORMATION
18 U.S.C. § 666(a)(1)(A)
18 U.S.C. § 1956(a)(1)(B)@)

The UNITED STATES ATTORNEY charges that:

COUNT ONE
18 U.S.C. § 666(a)(1)(A)

1. At all times material to this Information, the Ute Mountain Ute tribal
government was an Indian tribal government that received Federal grants and other
Federal benefits in excess of $10,000 between October 1, 2014, and September 30,
2015.

2. At all times material to this Information, defendant SHIRLEY ANN DEER
was an agent and employee of the Ute Mountain Ute’s Financial Services Department,
which was a department and agency of the Ute Mountain Ute tribal government.

3. From on or about October 9, 2014, through on or about November 21,

2014, in the District of Colorado, defendant SHIRLEY ANN DEER embezzled, without

authority knowingly converted to her own use and the use of others who were not the

rightful owner, and intentionally misapplied to her own use and the use of others who
were not the rightful owner, property that had a value of at least $5,000 that was owned
by and under the care, custody, and control of the Ute Mountain Ute tribal government,
namely, defendant SHIRLEY ANN DEER generated a series of the following seven
checks drawn on the Ute Mountain Ute tribal government's Common Fund account at
Vectra Bank Colorado and payable to Handy Mart: (1) Check No. 018492 dated
October 9, 2014, in the amount of $988; (2) Check No. 434524 dated October 10, 2014,
in the amount of $1,000; (3) Check No. 435832 dated October 28, 2014, in the amount
of $600; (4) Check No. 436128 dated October 31, 2014, in the amount of $1,000; (5)
Check No. 436624 dated November 7, 2074, in the amount of $1,000; (6) Check No.
436998 dated November 13, 2014, in the amount of $1,075; and (7) Check No. 437719
dated November 21, 2014, in the amount of $1075.

Allin violation of 18 U.S.C. § 666(a){1){A).

COUNT TWO
18 U.S.C. §§ 1956(a)(1)(B) and 2(b)

4. On or about November 21, 2014, in the District of Colorado, defendant
SHIRLEY ANN DEER willfully caused another person to conduct the following financial
transaction affecting interstate commerce and involving the proceeds of a specified
unlawful activity, namely, embezzlement, conversion, and misapplication of property
from an Indian tribal government receiving Federal funds, in violation of 18 U.S.C.

§ 666(a)(1){A), knowing that the property involved in the financial transaction

represented the proceeds of unlawful activity, and knowing that the transaction was

designed in whole and in part to conceal and disguise the location and control of the

proceeds of the specified unlawful activity: a Western Union agent sent a Western
Union wire transfer to M.T. in the amount of $989, which was funded by Ute Mountain
Ute check No. 437719 payable in the amount $1075.
All in violation of 18 U.S.C. §§ 1956(a)(1)(B) and 2(b).
Forfeiture Allegation

5. The allegations contained in Counts One and Two of this Information are
hereby realleged and incorporated by reference for the purpose of alleging forfeiture
pursuant to the provisions of 18 U.S.C. §§ 981(a)(1)(C), 982(a)(1), and 28 U.S.C. §
2461(c).

6. Upon conviction of the violations alleged in Count One of this Information
involving violations of 18 U.S.C. § 666(a)(1)(A), defendant SHIRLEY ANN DEER shall
forfeit to the United States, pursuant to Title 18, United States Code, Section
981(a)(1)(C), and Title 28, United States Code, Section 2461(c) any and all of the
defendant’s right, title and interest in all property constituting and derived from any
proceeds the defendant obtained directly and indirectly as a result of such offense,
including, but not limited to the entry of a money judgment in the amount of proceeds
obtained by the scheme and by the defendant.

7. Upon conviction of the violations alleged in Count Two of this Information
involving violations of 18 U.S.C. § 1956, defendant SHIRLEY ANN DEER shall forfeit to
the United States, pursuant to Title 18, United States Code, Section 982(a)(1) any and
all of the defendant's right, title and interest in all property, real or personal, involved in

such offense, or all property traceable to such property.
8. If any of the property described above, as a result of any act or omission

of the defendant:
a) cannot be located upon the exercise of due diligence;
b) has been transferred or sold to, or deposited with, a third
party,
c) has been placed beyond the jurisdiction of the Court;
d} has been substantially diminished in value; or
€) has been commingled with other property which
cannot be subdivided without difficulty;
it is the intent of the United States, pursuant to Title 21, United States Code, Section
853(p), Title 28, United States Code, Section 2461(c), to seek forfeiture of any other

property of said defendant up to the value of the forfeitable property.

ROBERT C. TROYER-——
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